     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 1 of 13



 1   Ashley M. Simonsen (State Bar. No. 275203)
     COVINGTON & BURLING LLP
 2
     1999 Avenue of the Stars
 3   Los Angeles, CA 90067
     Telephone: + 1 (424) 332-4800
 4   Facsimile: +1 (424) 332-4749
     Email: asimonsen@cov.com
 5
     Attorneys for Defendants Meta Platforms, Inc. f/k/a
 6
     Facebook, Inc.; Facebook Holdings, LLC; Facebook
 7   Operations, LLC; Facebook Payments, Inc.;
     Facebook Technologies, LLC; Instagram, LLC;
 8   Siculus, Inc.; and Mark Elliot Zuckerberg
 9   [Additional parties and counsel listed on signature page]
10
                                UNITED STATES DISTRICT COURT
11                             NORTHERN DISTRICT OF CALIFORNIA
12
     IN RE: SOCIAL MEDIA ADOLESCENT                    Case No. 4:22-md-03047-YGR
13   ADDICTION/PERSONAL INJURY
     PRODUCTS LIABILITY LITIGATION                     MDL No. 3047
14
                                                       JOINT STATEMENT REGARDING
15                                                     AGENDA FOR HEARING ON
     This Document Relates to:
                                                       DEFENDANTS’ MOTIONS TO DISMISS
16
     ALL ACTIONS
                                                       Hearing:
17                                                     Date:      October 27, 2023
                                                       Time:      10:30 a.m.
18                                                     Place:     Courtroom 1, 4th Floor
                                                       Judge:     Hon. Yvonne Gonzalez Rogers
19

20           Pursuant to the Court’s correspondence of August 16, 2023 directing the parties to confer
21   and file a proposed agenda in advance of the hearing scheduled for October 27, 2023 at 10:30 AM,
22   the parties hereby respectfully submit the following:
23           The parties have met and conferred on a proposed agenda for the hearing on Defendants’
24   Motions to Dismiss.1 The parties propose that the Court address each of the issues in Defendants’
25   Motions in the order presented below. In accordance with the Court’s instructions, Plaintiffs and
26
     1
       Defs.’ Joint Mot. to Dismiss Pursuant to Rules 12(b)(1) and 12(b)(6) Plaintiffs’ Priority Claims
27   Asserted in Am. Master Complaint (Dkt. 237); Def. Snap Inc.’s Supp. Brief in Support of Defs.’
     Joint Mot. to Dismiss Pursuant to Rules 12(b)(1) and 12(b)(6) Plaintiffs’ Priority Claims Asserted
28   in Am. Master Complaint (Dkt. 238); and Defs.’ Supp. Joint Mot. to Dismiss Pursuant to Rule
     12(b)(6) Plaintiffs’ Priority Claims Under Section 230 and the First Amendment (Dkt. 320).
         JOINT STATEMENT ON MOTION                                          Case No. 4:22-md-03047-YGR
         TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 2 of 13



 1   Defendants will have one person at the microphone for each side on each issue. Further, for the

 2   Court’s consideration, the parties respectfully offer suggestions on the amount of time to be

 3   allocated to argument on each issue. Of course, the parties defer to the Court on which issues the

 4   Court wishes to hear argument and for how long.

 5           Separately, Plaintiffs have requested a Case Management Conference following the October

 6   27, 2023 hearing on Defendants’ Motions. The parties set forth their respective positions on this

 7   request below.

 8                                         Joint Proposed Agenda

 9        1. Immunity pursuant to Section 230 of the Communications Decency Act (60 minutes) (30
             each side)
10
          2. First Amendment (50 minutes) (25 each side)
11
          3. Lunch break (45 minutes)
12
          4. Pleading sufficiency of product liability claims against Defendants (30 minutes) (15 each
13
             side)
14
          5. Pleading sufficiency of Plaintiffs’ alleged duty of care owed by Defendants (30 minutes)
15           (15 each side)2
16        6. Pleading sufficiency of Plaintiffs’ causation allegations (30 minutes) (15 each side)
17        7. 10-minute break
18        8. Pleading sufficiency of Plaintiffs’ negligence per se claim (30 minutes) (15 each side)
19
          9. Snap Inc.’s supplemental briefing (10 minutes) (5 each side)
20

21                  Plaintiffs’ Position on Request for Case Management Conference

22           Since the parties last appeared before the Court on March 3, 2023, several developments

23   have arisen that Plaintiffs believe will be most efficiently addressed with a brief Case

24   Management Conference (“CMC”) following the hearing, should time permit. Specifically,

25   Plaintiffs propose allocating no more than 30 minutes for a CMC on the following:

26           1. Post-Demurrer Discovery Coordination with JCCP
27

28   2
      Plaintiffs have filed an administrative motion proposing that Count V (general negligence) also
     be considered at this time. See Dkt. 388. Defendants oppose that motion. See Dkt. 392.
         JOINT STATEMENT ON MOTION                                            Case No. 4:22-md-03047-YGR
         TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 3 of 13



 1          2. Briefing of Remaining Claims
 2          3. School District Cases
 3          4. Pending Motion for Relief from Nondispositive Pretrial Order of Magistrate Judge
 4             Regarding Expert Disclosure (Dkt. 303)

 5          Defendants’ Position on Plaintiffs’ Request for Case Management Conference

 6          Defendants oppose Plaintiffs’ request to hold a CMC following the hearing. The Court

 7   did not set a CMC for October 27, 2023 or request a case management statement in advance of

 8   the hearing. Instead, the Court set a hearing on Defendants’ Motions to Dismiss and requested in

 9   advance only an agenda for that hearing. The parties have not prepared a joint statement

10   regarding any of Plaintiffs’ proposed topics. In any event, the Court’s ruling on Defendants’

11   Motions will inform how, if at all, discovery should proceed, the extent of further briefing

12   required on Plaintiffs’ remaining claims, and initial motions practice on the School District Cases,

13   making the topics Plaintiffs seek to raise premature. Defendants will be prepared to discuss at

14   next Friday’s hearing setting a CMC at a date convenient to the Court following its Motion-to-

15   Dismiss ruling, and any issues the Court would like the parties to address in advance through a

16   joint statement.

17

18   DATED: October 20, 2023                      Respectfully submitted,

19

20                                                COVINGTON & BURLING LLP
21
                                                  /s/ Ashley M. Simonsen
22                                                Ashley M. Simonsen (State Bar No. 275203)
                                                  COVINGTON & BURLING LLP
23                                                1999 Avenue of the Stars
                                                  Los Angeles, CA 90067
24                                                Telephone: + 1 (424) 332-4800
25                                                Facsimile: +1 (424) 332-4749
                                                  Email: asimonsen@cov.com
26
                                                  Phyllis A. Jones, pro hac vice
27                                                Paul W. Schmidt, pro hac vice
                                                  COVINGTON & BURLING LLP
28
                                                  One CityCenter

       JOINT STATEMENT ON MOTION                                             Case No. 4:22-md-03047-YGR
       TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 4 of 13



 1                                     850 Tenth Street, NW
                                       Washington, DC 20001-4956
 2                                     Telephone: + 1 (202) 662-6000
 3                                     Facsimile: + 1 (202) 662-6291
                                       Email: pajones@cov.com
 4                                     Email: pschmidt@cov.com

 5                                     Emily Johnson Henn (State Bar No. 269482)
                                       COVINGTON & BURLING LLP
 6                                     3000 El Camino Real
 7                                     5 Palo Alto Square, 10th Floor
                                       Palo Alto, CA 94306
 8                                     Telephone: + 1 (650) 632-4700
                                       Facsimile: +1 (650) 632-4800
 9                                     Email: ehenn@cov.com
10
                                       Isaac D. Chaput (State Bar No. 326923)
11                                     COVINGTON & BURLING LLP
                                       Salesforce Tower
12                                     415 Mission Street, Suite 5400
                                       San Francisco, CA 94105
13                                     Telephone: + 1 (415) 591-6000
                                       Facsimile: +1 (415) 591-6091
14
                                       Email: ichaput@cov.com
15
                                       Gregory L. Halperin, pro hac vice
16                                     COVINGTON & BURLING LLP
                                       620 Eighth Avenue
17                                     New York, NY 10018
                                       Telephone: + 1 (212) 841-1000
18
                                       Facsimile: +1 (212) 841-1010
19                                     Email: ghalperin@cov.com

20                                     Attorneys for Defendants Meta Platforms, Inc.
                                       f/k/a Facebook, Inc.; Facebook Holdings, LLC;
21                                     Facebook Operations, LLC; Facebook
22                                     Payments, Inc.; Facebook Technologies, LLC;
                                       Instagram, LLC; Siculus, Inc.; and Mark Elliot
23                                     Zuckerberg

24
                                       KING & SPALDING LLP
25

26                                     /s/ Geoffrey M. Drake
                                       Geoffrey M. Drake, pro hac vice
27                                       gdrake@kslaw.com
                                       Albert Q. Giang (State Bar No. 224332)
28                                       agiang@kslaw.com
                                       David Mattern, pro hac vice
      JOINT STATEMENT ON MOTION                                 Case No. 4:22-md-03047-YGR
      TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 5 of 13



 1                                      dmattern@kslaw.com
                                       King & Spalding LLP
 2                                     1180 Peachtree Street, NE, Suite 1600
 3                                     Atlanta, GA 30309
                                       Telephone: + 1 (404) 572-4600
 4                                     Facsimile: + 1 (404) 572-5100

 5
                                       FAEGRE DRINKER LLP
 6

 7                                     /s/ Andrea Roberts Pierson
                                       Andrea Roberts Pierson, pro hac vice
 8                                       andrea.pierson@faegredrinker.com
                                       Amy Fiterman, pro hac vice
 9                                       amy.fiterman@faegredrinker.com
                                       Faegre Drinker LLP
10
                                       300 N. Meridian Street, Suite 2500
11                                     Indianapolis, IN 46204
                                       Telephone: + 1 (317) 237-0300
12                                     Facsimile: + 1 (317) 237-1000

13                                     Attorneys for Defendants TikTok Inc., ByteDance
                                       Inc., ByteDance Ltd., TikTok Ltd., and TikTok LLC
14

15
                                       MUNGER, TOLLES & OLSON LLP
16
                                       /s/ Jonathan H. Blavin
17                                     Jonathan H. Blavin (State Bar No. 230269)
                                         Jonathan.Blavin@mto.com
18
                                       MUNGER, TOLLES & OLSON LLP
19                                     560 Mission Street, 27th Floor
                                       San Francisco, CA 94105-3089
20                                     Telephone: (415) 512-4000
                                       Facsimile: (415) 512-4077
21

22                                     Rose L. Ehler (State Bar No. 296523)
                                        Rose.Ehler@mto.com
23                                     Victoria A. Degtyareva (State Bar No. 284199)
                                        Victoria.Degtyareva@mto.com
24                                     Ariel T. Teshuva (State Bar No. 324238)
                                        Ariel.Teshuva@mto.com
25                                     MUNGER, TOLLES & OLSON LLP
26                                     350 South Grand Avenue, 50th Floor
                                       Los Angeles, CA 90071-3426
27                                     Telephone: (213) 683-9100
                                       Facsimile: (213) 687-3702
28

      JOINT STATEMENT ON MOTION                                 Case No. 4:22-md-03047-YGR
      TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 6 of 13



 1                                     Lauren A. Bell, pro hac vice
                                        Lauren.Bell@mto.com
 2                                     MUNGER, TOLLES & OLSON LLP
 3                                     601 Massachusetts Ave., NW,
                                       Suite 500 E
 4                                     Washington, D.C. 20001-5369
                                       Telephone: (202) 220-1100
 5                                     Facsimile: (202) 220-2300
 6                                     Attorneys for Defendant Snap Inc.
 7

 8                                     WILSON SONSINI GOODRICH & ROSATI
                                       Professional Corporation
 9
                                       /s/ Brian M. Willen
10
                                       Brian M. Willen, pro hac vice
11                                     Wilson Sonsini Goodrich & Rosati
                                       bwillen@wsgr.com
12                                     1301 Avenue of the Americas, 40th Floor
                                       New York, New York 10019
13                                     Telephone: (212) 999-5800
                                       Facsimile: (212) 999-5899
14

15                                     Lauren Gallo White (State Bar No. 309075)
                                       Wilson Sonsini Goodrich & Rosati
16                                     lwhite@wsgr.com
                                       Carmen Sobczak (State Bar No. 342569)
17                                     csobczak@wsgr.com
                                       One Market Plaza, Spear Tower, Suite 3300
18
                                       San Francisco, CA 94105
19                                     Telephone: (415) 947-2000
                                       Facsimile: (415) 947-2099
20
                                       Christopher Chiou (State Bar No. 233587)
21                                     Wilson Sonsini Goodrich & Rosati
22                                     cchiou@wsgr.com
                                       Matthew K. Donohue (State Bar No. 302144)
23                                     mdonohue@wsgr.com
                                       633 West Fifth Street
24                                     Los Angeles, CA 90071-2048
                                       Telephone: (323) 210-2900
25                                     Facsimile: (866) 974-7329
26
                                       Attorneys for Defendants YouTube, LLC,
27                                     Google LLC, and Alphabet Inc.

28

      JOINT STATEMENT ON MOTION                                 Case No. 4:22-md-03047-YGR
      TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 7 of 13



 1                                     /s/ Lexi J. Hazam
                                       LEXI J. HAZAM
 2                                     LIEFF CABRASER HEIMANN &
 3                                     BERNSTEIN, LLP
                                       275 BATTERY STREET, 29TH FLOOR
 4                                     SAN FRANCISCO, CA 94111-3339
                                       Telephone: + 1 (415) 956-1000
 5                                     Email: lhazam@lchb.com
 6                                     CHRISTOPHER A. SEEGER
 7                                     SEEGER WEISS, LLP
                                       55 CHALLENGER ROAD, 6TH FLOOR
 8                                     RIDGEFIELD PARK, NJ 07660
                                       Telephone: + 1 (973) 639-9100
 9                                     Facsimile: + 1 (973) 679-8656
                                       Email: cseeger@seegerweiss.com
10

11                                     PREVIN WARREN
                                       MOTLEY RICE LLC
12                                     401 9th Street NW Suite 630
                                       Washington DC 20004
13                                     Telephone: + 1 (202) 386-9610
                                       Email: pwarren@motleyrice.com
14

15                                     Co-Lead Counsel

16                                     JENNIE LEE ANDERSON
                                       ANDRUS ANDERSON, LLP
17                                     155 MONTGOMERY STREET, SUITE 900
                                       SAN FRANCISCO, CA 94104
18
                                       Telephone: + 1 (415) 986-1400
19                                     Email: jennie@andrusanderson.com

20                                     Liaison Counsel
21                                     JOSEPH G. VANZANDT
22                                     BEASLEY ALLEN CROW METHVIN
                                       PORTIS & MILES, P.C.
23                                     234 COMMERCE STREET
                                       MONTGOMERY, AL 36103
24                                     Telephone: + 1 (334) 269-2343
                                       Email: joseph.vanzandt@beasleyallen.com
25

26                                     EMILY C. JEFFCOTT
                                       MORGAN & MORGAN
27                                     220 W. GARDEN STREET, 9TH FLOOR
                                       PENSACOLA, FL 32502
28                                     Telephone: + 1 (850) 316-9100
                                       Email: ejeffcott@forthepeople.com
      JOINT STATEMENT ON MOTION                               Case No. 4:22-md-03047-YGR
      TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 8 of 13



 1
                                       RON AUSTIN
 2                                     RON AUSTIN LAW
 3                                     400 Manhattan Blvd.
                                       Harvey, LA 70058
 4                                     Telephone: + 1 (504) 227–8100
                                       Email: raustin@ronaustinlaw.com
 5
                                       MATTHEW BERGMAN
 6                                     GLENN DRAPER
 7                                     SOCIAL MEDIA VICTIMS LAW CENTER
                                       821 SECOND AVENUE, SUITE 2100
 8                                     SEATTLE, WA 98104
                                       Telephone: + 1 (206) 741-4862
 9                                     Email: matt@socialmediavictims.org
                                       Email: glenn@socialmediavictims.org
10

11                                     JAMES J. BILSBORROW
                                       WEITZ & LUXENBERG, PC
12                                     700 BROADWAY
                                       NEW YORK, NY 10003
13                                     Telephone: + 1 (212) 558-5500
                                       Facsimile: + 1 (212) 344-5461
14
                                       Email: jbilsborrow@weitzlux.com
15
                                       PAIGE BOLDT
16                                     WATTS GUERRA LLP
                                       4 Dominion Drive, Bldg. 3, Suite 100
17                                     San Antonio, TX 78257
                                       Telephone: + 1 (210) 448-0500
18
                                       Email: PBoldt@WattsGuerra.com
19
                                       THOMAS P. CARTMELL
20                                     WAGSTAFF & CARTMELL LLP
                                       4740 Grand Avenue, Suite 300
21                                     Kansas City, MO 64112
22                                     Telephone: + 1 (816) 701 1100
                                       Email: tcartmell@wcllp.com
23
                                       JAYNE CONROY
24                                     SIMMONS HANLY CONROY, LLC
                                       112 MADISON AVE, 7TH FLOOR
25                                     NEW YORK, NY 10016
26                                     Telephone: + 1 (917) 882-5522
                                       Email: jconroy@simmonsfirm.com
27
                                       CARRIE GOLDBERG
28                                     C.A. GOLDBERG, PLLC
                                       16 Court St.
      JOINT STATEMENT ON MOTION                                Case No. 4:22-md-03047-YGR
      TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 9 of 13



 1                                     Brooklyn, NY 11241
                                       Telephone: + 1 (646) 666-8908
 2                                     Email: carrie@cagoldberglaw.com
 3
                                       KIRK GOZA
 4                                     GOZA & HONNOLD, LLC
                                       9500 Nall Avenue, Suite 400
 5                                     Overland Park, KS 66207
                                       Telephone: + 1 (913) 451-3433
 6                                     Email: kgoza@gohonlaw.com
 7
                                       SIN-TING MARY LIU
 8                                     AYLSTOCK WITKIN KREIS &
                                       OVERHOLTZ, PLLC
 9                                     17 EAST MAIN STREET, SUITE 200
                                       PENSACOLA, FL 32502
10
                                       Telephone: + 1 (510) 698-9566
11                                     Email: mliu@awkolaw.com

12                                     ANDRE MURA
                                       GIBBS LAW GROUP, LLP
13                                     1111 BROADWAY, SUITE 2100
                                       OAKLAND, CA 94607
14
                                       Telephone: + 1 (510) 350-9717
15                                     Email: amm@classlawgroup.com

16                                     EMMIE PAULOS
                                       LEVIN PAPANTONIO RAFFERTY
17                                     316 SOUTH BAYLEN STREET, SUITE 600
                                       PENSACOLA, FL 32502
18
                                       Telephone: + 1 (850) 435-7107
19                                     Email: epaulos@levinlaw.com

20                                     ROLAND TELLIS
                                       DAVID FERNANDES
21                                     BARON & BUDD, P.C.
22                                     15910 Ventura Boulevard, Suite 1600
                                       Encino, CA 91436
23                                     Telephone: + 1 (818) 839-2333
                                       Facsimile: + 1 (818) 986-9698
24                                     Email: rtellis@baronbudd.com
                                       Email: dfernandes@baronbudd.com
25

26                                     ALEXANDRA WALSH
                                       WALSH LAW
27                                     1050 Connecticut Ave, NW, Suite 500
                                       Washington D.C. 20036
28                                     Telephone: + 1 (202) 780-3014
                                       Email: awalsh@alexwalshlaw.com
      JOINT STATEMENT ON MOTION                                Case No. 4:22-md-03047-YGR
      TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 10 of 13



 1
                                       MICHAEL M. WEINKOWITZ
 2                                     LEVIN SEDRAN & BERMAN, LLP
 3                                     510 WALNUT STREET
                                       SUITE 500
 4                                     PHILADELPHIA, PA 19106
                                       Telephone: + 1 (215) 592-1500
 5                                     Email: mweinkowitz@lfsbalw.com
 6                                     DIANDRA “FU” DEBROSSE ZIMMERMANN
 7                                     DICELLO LEVITT
                                       505 20th St North
 8                                     Suite 1500
                                       Birmingham, Alabama 35203
 9                                     Telephone: + 1 (205) 855-5700
                                       Email: fu@dicellolevitt.com
10

11                                     ROBERT H. KLONOFF
                                       ROBERT KLONOFF, LLC
12                                     2425 SW 76TH AVENUE
                                       PORTLAND, OR 97225
13                                     Telephone: + 1 (503) 702-0218
                                       Email: klonoff@usa.net
14

15                                     HILLARY NAPPI
                                       HACH & ROSE LLP
16                                     112 Madison Avenue, 10th Floor
                                       New York, New York 10016
17                                     Telephone: + 1 (212) 213-8311
                                       Email: hnappi@hrsclaw.com
18

19                                     ANTHONY K. BRUSTER
                                       BRUSTER PLLC
20                                     680 N. Carroll Ave., Suite 110
                                       Southlake, TX 76092
21                                     Telephone: + 1 (817) 601-9564
22                                     Email: akbruster@brusterpllc.com

23                                     FRANCOIS M. BLAUDEAU, MD JD FACHE
                                       FCLM
24                                     SOUTHERN INSTITUTE FOR MEDICAL
                                       AND LEGAL AFFAIRS
25                                     2762 B M Montgomery Street, Suite 101
26                                     Homewood, Alabama 35209
                                       Telephone: + 1 (205) 564-2741
27                                     Email: francois@southernmedlaw.com

28                                     JAMES MARSH
                                       MARSH LAW FIRM PLLC
       JOINT STATEMENT ON MOTION                               Case No. 4:22-md-03047-YGR
       TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 11 of 13



 1                                     31 HUDSON YARDS, 11TH FLOOR
                                       NEW YORK, NY 10001-2170
 2                                     Telephone: + 1 (212) 372-3030
 3                                     Email: jamesmarsh@marshlaw.com

 4                                     Attorneys for Plaintiffs

 5

 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

       JOINT STATEMENT ON MOTION                                  Case No. 4:22-md-03047-YGR
       TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 12 of 13



 1                                           ATTESTATION

 2          I, Ashley M. Simonsen, hereby attest, pursuant to N.D. Cal. Civil L.R. 5-1, that the

 3    concurrence to the filing of this document has been obtained from each signatory hereto.

 4

 5   DATED: October 20, 2023                             By: /s/ Ashley M. Simonsen
                                                             Ashley M. Simonsen
 6

 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

       JOINT STATEMENT ON MOTION                                            Case No. 4:22-md-03047-YGR
       TO DISMISS HEARING AGENDA
     Case 4:22-md-03047-YGR Document 393 Filed 10/20/23 Page 13 of 13



 1                                   CERTIFICATE OF SERVICE

 2          I hereby certify that on October 20, 2023, service of this document was accomplished

 3   pursuant to the Court’s electronic filing procedures by filing this document through the ECF

 4   system.

 5

 6   DATED: October 20, 2023                             By:    /s/ Ashley M. Simonsen
                                                               Ashley M. Simonsen
 7

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

       JOINT STATEMENT ON MOTION                                           Case No. 4:22-md-03047-YGR
       TO DISMISS HEARING AGENDA
